       Case 1:98-cr-00259-ELH           Document 854       Filed 07/25/14    Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

   UNITED STATES,

       v.                                                Criminal Action No. ELH-98-259
                                                         Related Civil Action No. ELH-13-2274
   CLARENCE HICKS,
       Defendant.

                                        MEMORANDUM

       Pending before the Court is a Motion for Reconsideration (“Motion,” ECF 853), filed by

Clarence Hicks on June 10, 2014. Mr. Hicks was convicted in 1999 of conspiracy to distribute

cocaine and cocaine base in Baltimore, Maryland.1          He now asks me to reconsider the

Memorandum (ECF 820) and Order (ECF 821) that I issued on April 19, 2013, more than a year

prior to his motion. He relies on “[R]ule 4(b) of the rules governing Section § 2255 proceedings

…” ECF 853 at 1. The Motion is the latest in a series of challenges Mr. Hicks has made to his

conviction and his sentence. See, e.g., In Re Hicks, 389 F. App’x 328 (4th Cir. 2010); In Re

Hicks, 421 F. App’x 276 (4th Cir.), cert. denied, ____ U.S. ____, 132 S. Ct. 833 (2011). For a

detailed recitation of the procedural and factual history of this case, I refer to and incorporate

herein the Memorandum filed by this Court on April 19, 2013 (ECF 820).

       In the Motion currently before the Court, Mr. Hicks repeats an argument he

unsuccessfully made in a prior motion for reconsideration: That his 1989 conviction for

possession of cocaine with intent to distribute should not have been counted as a “felony

drug offense” for the purpose of sentence enhancement under 21 U.S.C. § 841, because he

was not punished by imprisonment for more than one year. He claims that “he actually was not
       1
            The trial judge was the Honorable Benson Legg, who has since retired.
       Case 1:98-cr-00259-ELH         Document 854        Filed 07/25/14      Page 2 of 3




punished at all for the drug offense.” ECF 853 at 2. My prior Memorandum Opinion (ECF 820)

disposes of this argument. There, I wrote:

       [T]he statutory definition of a “felony drug offense” does not turn on the length of
       the sentence that was actually imposed. Rather, it turns on “the maximum sentence
       that could have been imposed on a person with the defendant’s actual level of
       aggravation and criminal history.” United States v. Powell, 691 F.3d 554, 556
       (4th Cir. 2012) (emphasis added and omitted).

               Hicks’s 1989 Conviction involved possession of a controlled dangerous
       substance with intent to distribute. In 1989, possession of a controlled dangerous
       substance with intent to distribute was criminalized by Article 27, § 286 of the
       Annotated Code of Maryland. Then, as now, the maximum penalty for the crime
       depended upon what substance the defendant was convicted of possessing: if the
       substance was a Schedule I or II narcotic drug, the maximum penalty was twenty
       years’ imprisonment, whereas possession of other controlled dangerous
       substances entailed a maximum penalty of only five years. See Md. Code Ann.
       (1957, 1987 Repl. Vol., 1989 Supp.), Art. 27, § 286(b)(1), (3). But, in any event,
       the maximum possible penalty exceeded one year, and so the offense was (and is)
       a “felony drug offense” for purposes of sentence enhancement under 21 U.S.C. §
       841, regardless of the length of the state sentence that actually was imposed.
       Accordingly, Hicks’s argument is devoid of merit.

       The exact same analysis governs here. Accordingly, Hicks’ Motion will be denied.

       This Court now informs Mr. Hicks of anticipated changes to the Drug Quantity Table of

the United States Sentence Guidelines, which will become effective in November 2014. I

express no opinion, however, as to whether Mr. Hicks will be eligible for a sentence reduction,

pursuant to 18 U.S.C. § 3582(c)(2).

       Under Rule 11(a) of the Rules Governing Proceedings Under 28 U.S.C. § 2255, it does

not appear that a Certificate of Appealability (“COA”) applies here. In any event, because Mr.

Hicks’ Motion provides no basis for issuance of a COA, a COA is denied.

       An Order follows.




                                              -2-
       Case 1:98-cr-00259-ELH   Document 854   Filed 07/25/14    Page 3 of 3




Date: July 25, 2014                                    /s/
                                                Ellen Lipton Hollander
                                                United States District Judge




                                      -3-
